                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

GLOBAL FORCE                                     )
ENTERTAINMENT, INC. and                          )
JEFFREY JARRETT                                  )
                                                 )   CIVIL ACTION NO. 3:18-cv-00749
        Plaintiffs/Counter-Defendants,           )
                                                 )   CHIEF JUDGE CRENSHAW
   v.                                            )   MAGISTRATE BARBARA D. HOLMES
                                                 )
ANTHEM WRESTLING                                 )   JURY DEMAND
EXHIBITIONS, LLC,                                )
                                                 )
        Defendant/Counter-Plaintiff.             )


                         PLAINTIFFS’ FIRST MOTION IN LIMINE


        Plaintiffs Global Force Entertainment, Inc. and Jeffery Jarrett (“Plaintiffs”) respectfully

move to exclude and preclude Defendant from offering evidence, by introduction, reference,

documents, declaration, deposition testimony, or live testimony, of any information related to Mr.

Jarrett’s conduct while intoxicated resulting from his alcoholism.

        Mr. Jarrett is an alcoholic in recovery. It is undisputed that Mr. Jarrett’s conduct while

intoxicated resulted in his suspension from his employment by Defendant. Defendant also asserts

Mr. Jarrett’s conduct while intoxicated resulted in the termination of his employment by

Defendant. Plaintiffs do not seek to prohibit Plaintiffs or Defendant from mentioning Mr. Jarrett’s

suspension and termination generally or any general, non-specific reference to Mr. Jarrett’s battle

with alcoholism. Presenting any more than that at trial is unnecessary and unwarranted. Mr.

Jarrett’s alleged conduct (including any statements made) while intoxicated are not relevant; are

highly prejudicial; and seek to introduce hearsay outside any exception.




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       Wherefore, Plaintiffs respectfully request the Court: (1) exclude and preclude Defendant

from offering evidence, by introduction, reference, documents, declaration, deposition testimony,

or live testimony, of any information related to (1) Mr. Jarrett’s conduct and/or statement while he

was intoxicated; (2) any inflammatory and/or pejorative statements regarding Mr. Jarrett resulting

from any intoxicated conduct; (3) any out-of-court statements made by any third party to Mr.

Nordholm, Mr. Asper, Mr. D’Amore, or any other individual regarding Mr. Jarrett’s conduct while

intoxicated; and (5) such other and further relief that the Court may deem just and proper under

the circumstances.

       Counsel for Plaintiffs has conferred with all other counsel via email on June 4, 2020.

Defendant informed Plaintiffs that it opposed this motion.



Dated: June 5, 2020                           Respectfully submitted,

                                              /s/ Samuel F. Miller
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of June 2020, the foregoing document was filed via
ECF:

       Paige W. Miller
       Bass, Berry & Sims PLC
       150 Third Avenue South, Suite 2800
       Nashville, TN 37201
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                                                  /s/ Samuel F. Miller
                                                  Samuel F. Miller




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